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     Yeomans  v.  People No. 24SC620Supreme Court of ColoradoMay 12, 2025
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;HELD
      PETITION FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Held
      pending 23SC168, Tennyson v. People; 23SC775,
      Snow v. People; 23SC583, Babcock v. People;
      23SC525, Johnson v. People; 23SC622, People v.
      Roberson
    